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    8                      UNITED STATES DISTRICT COURT
    9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
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   11   UNITED STATES OF AMERICA ex rel. Case No.: EDCV 08-0221 VAP
   12
        THE HUMANE SOCIETY OF THE        (OPX)
        UNITED STATES,
   13                                    FINAL JUDGMENT ON
   14                     Plaintiffs,    CONSENT AS TO WESTLAND
             vs.                         MEAT COMPANY, INC.
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   16   WESTLAND/HALLMARK MEAT
        COMPANY, et. al.,
   17                     Defendants.
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               CONSENT JUDGMENT AS TO WESTLAND MEAT COMPANY, INC.
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    2                This matter, having come on for consideration upon the Second
    3   Amended Complaint in Intervention filed by plaintiff the United States of
    4   America, acting through the United States Department of Justice ( the “United
    5   States”), for certain claims of relief against defendant Westland Meat Company,
    6   Inc. (“Westland”) and other parties, including violations of False Claims Act, 31
    7   U.S.C. §§ 3729 et seq.; and Westland having stipulated to the entry of judgment
    8   against it, under the terms provided herein;
    9

   10   IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:
   11

   12         1.     This Court has jurisdiction over this action under the laws of the
   13   United States, 28 U.S.C. §1345 and 31 U.S.C. § 3732 and over the parties to this
   14   action.
   15         2.     Venue lies with this Court pursuant to 28 U.S.C. § 1391(b).
   16         3.     On February 19, 2008, the Humane Society of the United States
   17   (“HSUS”) commenced this action by filing a complaint in the United States
   18   District Court for the Central District of California pursuant to the qui tam
   19   provisions of the False Claims Act, 31 U.S.C. § 3730(b) (the “Civil Action”).
   20         4.     On April 20, 2009, the United States intervened in the Civil Action.
   21   Thereafter, the United States filed the following complaints in intervention: United
   22   States’ Complaint in Intervention, dated August 21, 2009 (ECF Doc. No. 22);
   23   United States’ First Amended Complaint in Intervention, dated March 29, 2010
   24   (ECF Doc. No. 43); and the United States’ Second Amended Complaint in
   25   Intervention, dated December 15, 2010 (ECF Doc. No. 167) (the “Complaint”).
   26         5.     The parties have reached a settlement in principle and, in
   27   consideration for and as one of the material terms of the settlement, Westland has
   28   consented to entry of this Judgment pursuant to the terms hereof.
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                       CONSENT JUDGMENT AS TO WESTLAND MEAT COMPANY, INC.
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    2         6.      Judgment is hereby entered against Westland in the amount of
    3   $155,684,827.13.
    4         7.     This Judgment is not, and shall not be, intended or construed as an
    5   admission by Westland of any facts, claims or allegations in the Complaint.
    6         8.      This Judgment shall not be used, and is prohibited from being used, as
    7   evidence of liability or admission of any facts, claims or allegations with respect to
    8   Westland or any other defendant in this Civil Action, or in any other legal and/or
    9   administrative proceeding that may be brought by the United States or any other
   10   person or entity in any other action, regardless of forum and whether related and/or
   11   unrelated to the facts, claims and/or allegations in the Complaint.
   12          9.     The Plaintiffs may not collect this judgment against any named
   13   defendant other than Westland Meat Company, Inc. The Plaintiffs, jointly and
   14   severally, waive and disclaim any and all rights that they, collectively or
   15   individually, may have to pursue any collection actions against any named
   16   defendant other than Westland Meat Company, Inc., on any theory, including, but
   17   not limited to, alter ego, secondary liability, derivative liability, and/or joint
   18   venture liability.
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   20        IT IS SO ORDERED.
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             Dated this _2d_ day of December, 2013.
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                                                 BY THE COURT:

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   27                                            United States District Judge
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                        CONSENT JUDGMENT AS TO WESTLAND MEAT COMPANY, INC.
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    1             APPROVED AS TO FORM AND CONTENT:
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    3                           WESTLAND MEAT COMPANY, INC.
    4

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    6   DATED:__________, 2013              BY: _____________________________
                                                 STEVE MENDELL
    7                                            President
    8

    9

   10   DATED:__________, 2013              BY: _____________________________
                                                 MARK R. TROY
   11                                            Counsel for Defendant Westland
                                                 Meat Company, Inc.
   12

   13

   14                           THE HUMANE SOCIETY OF THE UNITED STATES
   15

   16

   17   DATED:__________, 2013              BY: _____________________________
   18
                                                 JONATHAN R. LOVVORN
                                                 Senior Vice President
   19

   20

   21   DATED:__________, 2013              BY: _____________________________
   22
                                                 DAVID S. COHEN
                                                 Counsel for The Humane Society
   23                                            of the United States
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                      CONSENT JUDGMENT AS TO WESTLAND MEAT COMPANY, INC.
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    1                             THE UNITED STATES OF AMERICA
    2

    3   DATED: __________, 2013             BY: ______________________________
    4
                                                 DAVID K. BARRETT
                                                 Assistant United States Attorney
    5                                            Central District of California
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                      CONSENT JUDGMENT AS TO WESTLAND MEAT COMPANY, INC.
